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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-725 (MAU)
                                              :
JARED SAMUEL KASTNER,                         :
                                              :
                       Defendant.             :


       GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO MODIFY
             CONDITIONS ON SECOND AMENDMEN GROUNDS

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Response to Defendant Jared Kastner’s

(“Kastner”) Motion to Modify Conditions on Second Amendment Grounds.1 ECF No. 88. For the

fourth time during the pendency of this matter, the Defendant is seeking to amend his conditions

of pretrial release to alter or remove the firearms restriction. The government continues to oppose

removing this condition of release.

       The Court should deny the Defendant’s motion under the standard of review for a motion

for reconsideration. Kastner has not presented any intervening change in law with regards to

conditions of pretrial release, any clear error, or new evidence not previously available when Judge

Moss ruled on the Defendant’s initial motion to remove the firearms restriction or on the

Defendant’s first motion for reconsideration. In the alternative, if the Court entertains the

Defendant’s arguments regarding the constitutionality of a firearms restriction as a condition of



1
  While the defendant’s filing is styled as a “Motion to Modify Conditions on Second Amendment
Grounds,” the government contends that it is instead a second motion for reconsideration of Judge
Moss’s order denying the defendant’s motion to modify the defendant’s conditions of pretrial
release to remove the firearms restriction. See Order Denying Motion to Modify Conditions of
Release, ECF No. 35; see also Order Denying Motion for Reconsideration of Order Denying
Motion to Modify Conditions of Release, ECF No. 42.
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pretrial release, the Court should find that the law allowing a court to order that the Defendant

“refrain from possessing a firearm” while on pretrial release when that is the least restrictive way

to ensure community safety comports with the Second Amendment. 18 U.S.C. §

3142(c)(1)(B)(viii).

I.     FACTUAL BACKGROUND AND PROCEDURAL POSTURE

       A.      Events of January 6, 2021 and Kastner’s arrest

       On January 6, 2021, thousands of rioters took part in an attack on the U.S. Capitol in an

effort to stop the certification of the results of the 2020 presidential election. These rioters forced

their way into the U.S. Capitol building, requiring elected officials and their staff to flee or shelter

in place and injuring many law enforcement officers.

       The government sets forth the details of Kastner’s participation in this attack in its

Opposition to Kastner’s Motion to Modify Conditions of Release. ECF No. 22. In short, mere

minutes after the initial breach of the U.S. Capitol building, the Defendant unlawfully entered the

building. The initial breach occurred at 2:12 p.m., and Kastner entered the Capitol at approximately

2:17 p.m. After entering, he walked toward the Crypt, where he was confronted by a line of law

enforcement officers who were preventing rioters from progressing further into the building.

During the standoff that ensued, rioters yelled at the law enforcement officers and moved forward

toward the officers. Instead of leaving, Kastner remained in the Crypt while a crowd of rioters

pushed forward into the law enforcement officers, eventually breaking the line. Ultimately,

Kastner remained in the Capitol building for about 18 minutes.

       The government has reason to believe that Kastner brought firearms with him when he

traveled from Ohio to Maryland and that, at a minimum, he considered bringing those firearms

with him into Washington, D.C., on January 6, 2021. As further detailed below, in August 2022,



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Kastner was found to be in violation of his pretrial release based on firearms being present in his

residence. During a pretrial violation hearing, on September 6, 2022, Kastner testified that he

brought firearms with him on his journey from Ohio to the Washington, D.C., area on January 4,

2021. However, Kastner denied bringing firearms with him to the rally or to the attack on the

Capitol on January 6. See ECF 57. Consistent with the above admission, Kastner’s Google search

history revealed that he researched bringing firearms with him to the D.C. area. On January 4,

2021, at 7:04 p.m., Kastner Googled “virginia beach gun laws”, and subsequently visited the

website “Large Capacity Magazines in Virginia.” At 7:05 p.m. on the same day, Kastner, a

concealed carry permit holder, Googled “concealed carry magazine limit washington DC.” The

next day, January 5, at 12:18 p.m., he Googled “concealed carry on train in DC.” Approximately

one minute later, at 12:19 p.m., Kastner Googled “concealed carry on train in ‘DC.’” About ten

seconds later, he visited a website titled “District of Columbia Concealed Carry Gun Law: CCPL…

- USCCA.” After, at 12:55 p.m., Kastner Googled “metro to DC from VA.” Notably, Washington,

D.C. does not allow firearms on any Metrorail transit system, including the metro. See

https://mpdc.dc.gov/page/prohibited-places-carry-concealed-firearm. Kastner subsequently rode

the D.C. metro into the District on January 5, 2021, and on January 6, 2021. Kastner’s testimony

during a pretrial violation hearing for firearms possession, as well as Kastner’s Google search

history, revealed that he traveled from Ohio to the D.C. area with firearms and, at a minimum,

contemplated bringing those firearms with him to D.C. on January 6.

       Due to his participation in the riot, the Defendant was charged by criminal complaint on

December 7, 2021, and arrested on December 8, 2021. ECF Nos. 1, 5. Also on December 8, 2021,

the government filed a criminal information, charging Kastner with knowingly entering or

remaining in a restricted building or grounds without lawful authority, in violation of 18 U.S.C.



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§ 1752(a)(1); disorderly and disruptive conduct in a restricted building or grounds, in violation of

18 U.S.C. § 1752(a)(2); disorderly conduct in a Capitol building or grounds, in violation of 40

U.S.C. § 5104(e)(2)(D); and parading, demonstrating, or picketing in a Capitol building, in

violation of 40 U.S.C. § 5104(e)(2)(G). ECF No. 7.

       B.      The Court’s Restriction on Kastner’s Possession of Firearms as a Condition of

       Pretrial Release and Subsequent Litigation

       Magistrate Judge Faruqui set Kastner’s conditions of release (“Order Setting Conditions of

Bond”) on December 13, 2021, at the Defendant’s initial status conference in Washington, D.C.

ECF No. 11. Prior to the initial status conference, the Pretrial Services Agency prepared a pretrial

services report, which included a recommendation that Kastner not be allowed to possess firearms.

ECF No. 10 at 1. At the initial appearance, consistent with this recommendation, the government

requested that the Defendant not be permitted to possess firearms while on pretrial release;

however, upon learning that the Defendant provides security for his church at services on

Wednesdays and Sundays, Magistrate Judge Faruqui set the following condition related to

firearms:

       Defendant is permitted to possess a firearm only while on the premises of the
       Wilmington Baptist Church (herein “Church”), during the services held on
       Wednesdays and those held twice on Sundays. The firearm is to be stored and
       secured on the Church’s premises. Defendant is prohibited from taking the firearms
       off of the Church’s grounds. Outside of that limited exception, Defendant is
       prohibited from possessing firearms at any other time outside of the services
       mentioned. Defendant must also provide proof of the lawful ability to carry a
       firearm to Southern District of Ohio (Dayton) within 72 hours.

ECF No. 11 at 3.

       On January 21, 2022, the Defendant filed a motion to modify conditions of release, in

which the Defendant argued that the above-described firearms restriction was not reasonable or

justified. ECF No. 20. In that brief, the Defendant asserted his right to possess firearms under the

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Second Amendment. Id. at 4-5, citing McDonald v. Chicago, 561 U.S. 742 (2010) and Heller v.

District of Columbia, 554 U.S. 570 (2008). However, the Defendant conceded that “[t]hat right

may, of course, be subject to reasonable restrictions.” ECF No. 20 at 4.

       On January 28, 2022, the government filed its response in opposition to the Defendant’s

motion. ECF No. 22. On February 4, 2022, the Defendant filed a reply in support of his motion.

ECF No. 23. On February 18, 2022, Judge Moss heard oral argument on the motion, including

testimony from the D.C. Pretrial Services officer supervising the Defendant, who opposed

modifying the firearms restriction. On February 28, 2022, Judge Moss issued a written order

denying the Defendant’s motion, finding that “the firearms restriction is reasonable under the

circumstances.” ECF No. 35 at 2. Judge Moss credited the views of the supervising D.C. Pretrial

Services officer who “remains concerned that permitting Defendant to keep firearms at his

residence poses an unreasonable risk to the officers who may need to conduct a home visit.” Id. at

2-3. Judge Moss expressed concern based on Kastner’s Google search history that he even

considered bringing “a weapon equipped with a large capacity magazine to the rally-turned-riot.”

Id. at 3-4. Judge Moss found that “a partial restriction is appropriate” and noted that Magistrate

Judge Faruqui’s decision to allow Kastner to possess a firearm during limited time windows to

provide security at his church “was reasonably tailored to Defendant’s circumstances.” Id. at 3-4.

       On April 13, 2022, the Defendant filed a motion for reconsideration, again arguing that the

firearms restriction was unreasonable and unjustified. ECF No. 37. On May 2, 2022, the

government filed its response in opposition to the Defendant’s motion. ECF No. 39. On May 13,

2022, Judge Moss issued a written order denying the Defendant’s motion, finding that “the

standard for reconsideration [had] not been met” and upholding the firearms restriction as a

condition of the Defendant’s pretrial release. ECF No. 42 at 8-10. Again, Judge Moss credited the



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views of Kastner’s supervising D.C. Pretrial services officer, quoting extensively from the Pretrial

Services Agency (“PSA”) report filed at Judge Moss’s request in response to the Defendant’s

Motion for Reconsideration:

       Any doubt about whether justice requires reconsideration of this issue is put to rest
       by a report filed (at the Court’s request) on May 4, 2022, by PSA. Dkt. 40; see also
       Minute Order (Apr. 19, 2022). That report explains why PSA “maintains that the
       current conditions of release are sufficient and [the] least restrictive” means of
       assuring the safety of other persons and the community. Dkt. 40 at 2. According to
       the report, “[i]n courtesy supervision cases[,] the lead office” for “decisions and
       statements” is “the office where the case originates”—in this case, PSA. Id. The
       report further explains that, although Kastner is not currently receiving home visits,
       “[that] does not preclude home visits from occurring should a law enforcement need
       arise,” and, such “[h]ome visits are not always announced.” Id. Given the risks
       associated with unannounced visits, the report continues, “officer safety is
       paramount.” Id. Moreover, the report explains that during Kastner’s post-arrest
       interview, he was “asked if he would remove the firearms from his home where he
       resided with his parents” and both Kastner and his father “indicated that they would
       remove the firearms but they would not be happy.” Id. And finally, the report notes
       that PSA maintains its view that, notwithstanding Kastner’s lack of prior
       convictions, “his alleged conduct prior to January 6 . . . as well as the violent
       criminal activity” that he was present for “support the currently imposed least
       restrictive conditions for this defendant while under active pretrial release.” Id.

ECF. No. 42 at 9-10.

       In the conclusion of his order denying the motion for reconsideration, Judge Moss credited

the PSA report as a “reflect[ion] of the official views of the agency charged with Kastner’s pretrial

release” and noted that the PSA report “[took] into account the safety of the community and any

officer who might be asked to conduct a home visit, with or without advance notice.” Id. at 10.

       C.      Kastner’s Move to Indiana and Pretrial Violation for Firearms

       On June 9, 2022, D.C. Pretrial Services Officer Katrina Stanford informed the government

that Kastner planned to move from the Southern District of Ohio to the Southern District of

Indiana. According to Officer Stanford, the move was scheduled to occur on June 25, 2022. As

result of the move, the responsibility for Kastner’s courtesy pretrial supervision would be



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transferred to the Southern District of Indiana. The Defendant cited his recent marriage as the basis

for the move to Indiana. ECF. No. 45.

        On July 26, 2022, Pretrial Services Officer Shallon Watson, acting as a courtesy

supervision officer in the Southern District of Indiana, conducted a home visit at Kastner’s new

residence in Indiana. Kastner did not inform Officer Watson of the presence of firearms in his

residence prior to Officer Watson’s home visit. During an interview at Kastner’s residence, Officer

Watson asked Kastner whether there were any firearms located at the residence. Kastner disclosed

that his wife, Kaitlyn, had firearms within the residence. Officer Watson was informed that there

were three firearms in the residence, including two handguns and a rifle. Officer Watson was told

that one of the handguns was secured in a lockbox, and the other handgun and rifle were not

secured. Officer Watson did not observe any of the weapons; rather, she learned of the firearms

from Kastner. After the home visit and based on advice from Kastner’s supervisor PSA officer in

D.C., Officer Watson subsequently instructed Kastner that firearms were not allowed in his

residence. Rather than immediately comply, Kastner told Officer Watson that he would talk to his

lawyer about the matter.

        On August 22, 2022, Officer Stanford filed a Pretrial Violation Report. ECF No. 45. Officer

Stanford advised:

        PSA recommends that the defendant be removed from Pretrial Supervision due to
        non-compliance. On 7/26/2022, the defendant relocated to the Southern District of
        Indiana. A home assessment was also conducted on 7/26/2022 and a firearm was
        discovered within the residence. The Southern District of Indiana instructed the
        defendant to remove the firearm from the residence. PSA was informed that the
        defendant stated that he will follow up with Defense Counsel concerning the
        removal of the firearm.

Id. at 2.




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       The cited bases for the recommendation included the Order Setting Conditions of Release

issued by Judge Moss on December 14, 2021; the Order Denying the Defendant’s Motion to

Modify the Firearms Restriction issued on February 28, 2022; and the Order Denying the

Defendant’s Motion for Reconsideration of the Motion to Modify the Firearms Restriction issued

on May 13, 2022. See ECF Nos. 11, 35, and 42. Based on the above, Officer Stanford advised,

“The Defendant is fully aware that no firearm should be within his residence.” ECF No. 45 at 1-2.

After PSA issued a Pretrial Violation Report, Kastner denied being told by Officer Watson to

remove the firearms from his residence. When Kastner eventually told Officer Watson that the

firearms had been removed from his residence, he denied knowledge of where the firearms were

relocated.

       On August 26, 2022, in light of the Pretrial Violation Report, Judge Moss ordered Kastner,

his attorney, the government, and a representative from PSA to appear for an in-person hearing on

August 31, 2022. In response, on August 27, 2022, Kastner filed a Motion to Convert the In-person

Hearing to VTC (ECF No. 46), which Judge Moss denied.

       On September 6, 2022, Judge Moss held an in-person pretrial violation hearing, which

included testimony from Officer Stanford, Officer Watson, Jared Kastner, David Kastner (the

Defendant’s father), and Kaitlyn Kastner (the Defendant’s wife). Based on the testimony, Judge

Moss issued an order finding by clear and convincing evidence that Kastner had violated the

conditions of his release by having firearms in his residence and revising Kastner’s conditions of

pretrial release to include additional firearms restrictions. ECF No. 57. The government and PSA

requested detention based on the violation; however, Judge Moss determined that there were

conditions less restrictive than incarceration to ensure the safety of the community and issued the

following revised conditions of pretrial release:



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        (1) Jared Samuel Kastner may not reside in any residence where any firearm is
        present, no matter how the firearm is stored or kept. In addition, should Kastner
        wish to stay with his father or anyone else during the period of his pretrial release,
        there may not be any firearm (no matter how the firearm is stored or kept) in that
        residence during his stay. [internal fn. omitted]
        (2) So long as Kaitlyn Kastner resides with Jared Kastner, she may not possess any
        firearm in their shared residence, no matter how it is stored or kept, during the
        pendency of the proceedings against Jared Kastner. With Kaitlyn Kastner’s
        consent, this order binds her as well as Jared Kastner, and any violation may subject
        either or both Jared and Kaitlyn Kastner to contempt of court.2
        (3) The exemption providing that Jared Kastner could possess a firearm while on
        the premises of the Wilmington Baptist Church, Dkt. 11 at 3, is vacated. Kastner
        may not possess a firearm at any time and under any circumstances, including while
        at church.
        (4) Jared Kastner is committed to Home Detention for a period of thirty (30) days,
        beginning September 15, 2022 and running through October 15, 2022. He will be
        restricted to his place of residence continuously during that period, except for
        authorized absences, enforced by an appropriate means of surveillance by the
        Pretrial Services Agency. In consultation with Pretrial Services, Kastner may
        receive authorization to leave his home for gainful employment, religious services,
        medical care and at such other times as may be specifically authorized by his
        supervising Pretrial Services officer. Electronic monitoring is an appropriate means
        of surveillance for home detention. Pretrial Services shall place Jared Kastner on
        home detention by September 15, 2022.

Id. at 11-12. 3

        On December 19, 2022, the Defendant made a motion for a trial by magistrate judge

(ECF No. 69), which the government did not oppose (ECF No. 73). Judge Moss granted

the motion and the case was reassigned to this Court. On January 25, 2023, Kastner filed




2
  During the pretrial violation hearing, Kaitlyn Kastner “agreed—on pain of contempt—to ensure
that no weapons, whether his, hers, or anyone else’s, are allowed in their mutual home, regardless
of how any such weapon is stored or kept.” Id. at 10-11.
3
  In his order, Judge Moss found Kastner’s testimony about his understanding of the firearms
restriction to be “not credible” and “gamesmanship designed to resist the Court’s order and the
clear direction of [PSA].” ECF 57 at 9. When Kastner was questioned about the number of firearms
that he owned and his understanding of Magistrate Judge Faruqui’s admonition that Kastner not
have any firearms in his residence, Judge Moss found Kastner’s responses to be “evasive or less
than forthright.” Id. Judge Moss informed Kastner that he was on “thin ice and that any future
violations may require his incarceration pending trial.” Id. at 10.
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the instant motion, inviting this Court to revisit the firearms restriction as a condition of

pretrial release.

II.     ARGUMENT

        A.      Kastner has failed to meet the standard of review for a motion to reconsider

                    i. Standard of Review

        Judges “regularly entertain motions for reconsideration in a criminal context, applying the

analogous Federal Rules of Civil Procedure.” In Matter of Extradition of Liuksila, 133 F. Supp. 3d

249, 255 (D.D.C. 2016). Typically, courts look to Federal Rule of Civil Procedure 60(b) when

considering a motion for reconsideration; however, “the standard of review for interlocutory

decisions differs from the standards applied to final judgments under” Rule 60(b). Id. (quoting

Williams v. Savage, 569 F.Supp.2d 99, 108 (D.D.C. 2008)). Federal Rule of Civil Procedure 54(b)

allows a district court to revise an interlocutory order “at any time before the entry of a judgment

adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b).

“[R]econsideration of an interlocutory decision is available under the standard ‘as justice

requires.’” Liuksila, 133 F.Supp.3d at 256 (quoting Judicial Watch v. Dep’t of Army, 466

F.Supp.2d 112, 123 (D.D.C. 2006)). To that end, a Court may consider “whether the court

‘patently’ misunderstood a party, made a decision beyond the adversarial issues presented to the

court, made an error in failing to consider controlling decisions or data, or whether a controlling

or significant change in the law or facts has occurred since the submission of the issue to the Court.

Id. (citing Loumiet v. United States, 65 F. Supp. 3d 19, 2014 WL 4100111, at *2 (D.D.C. 2014)).

        Motions for reconsideration, however, “cannot be used as ‘an opportunity to reargue facts

and theories upon which a court has already ruled, nor as a vehicle for presenting theories or

arguments that could have been advanced earlier.’” Estate of Gaither ex rel. Gaither v. District of



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Columbia, 771 F. Supp. 2d 5, 10 (D.D.C. 2011) (quoting SEC v. Bilzerian, 729 F. Supp. 2d 9, 14

(D.D.C. 2010)); United States v. Hong Vo, 978 F. Supp. 2d 41, 48 (D.D.C. 2013).

               ii. Kastner has failed to present facts or arguments to warrant

                   reconsideration.

       Kastner does not argue that there has been any clear error by Judge Moss, or any new

evidence not previously available. The Defendant, instead, mistakenly argues that there has been

an intervening change in law. Kastner relies primarily on an out-of-circuit district court opinion,

United States v. Quiroz, 2022 WL 4352482 (W.D. Tx 2022), which concerns the constitutionality

of criminal statute 18 U.S.C. § 922(n)—not the constitutionality of pretrial release conditions

under 18 U.S.C. § 3142(c)(1)(B)(viii)—and which is currently under appeal in the Fifth Circuit

Court of Appeals. The district court in Quiroz specifically declined to consider whether restricting

a defendant’s right to possess a firearm as a condition of pretrial release is constitutional. Id. at

*11. Though Quiroz relied on New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111

(2022), Bruen did not create a change in law with respect to pretrial release. By citing inapplicable

case law, Kastner has failed to provide any new change in law that would justify this Court

revisiting Kastner’s conditions of pretrial release.

       The Bail Reform Act requires that a defendant on pretrial release be “subject to the least

restrictive condition, or combination of conditions” that will “reasonably assure the appearance of

the person as required and the safety of any other person and the community.” 18 U.S.C.

§ 3142(c)(1)(B). In a prior order, Judge Moss noted that Magistrate Judge Faruqui “struck a

reasonable balance” by allowing Kastner to possess firearms three times per week while serving

on his church’s security detail and prohibiting Kastner from possessing firearms at his home to

protect Pretrial Services officers who might visit the Defendant. ECF No. 35 at 3. However,



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Kastner could not abide by those reasonable conditions, and he received a violation for having

firearms in his household. ECF No. 45. After a violation hearing, Judge Moss found by clear and

convincing evidence that Kastner had knowingly violated the terms of pretrial release. ECF No.

57. Judge Moss found that “a more restrictive combination of conditions of release is needed

reasonably to assure the safety of the community.” Id. at 1, citing 18 U.S.C. § 3148(b) and 18

U.S.C § 3142(c). These more restrictive conditions included the removal of the accommodation

for Kastner to have a firearm while at church and clear conditions that both Kastner and his wife

were restricted from having firearms in their shared household. ECF No. 57 at 11-12. The

government contends that firearms conditions ordered by Judge Moss in this matter are reasonable,

temporary, and justified.

       Kastner has not specified any change in circumstance or facts that would explain the need

for modification of this temporary restriction. Rather, Kastner references the same broad concerns

for self-defense that Judge Moss already considered when denying the Defendant’s previous

motions. See ECF 88 at 1-2. Judge Moss did not commit an error in his analysis when determining

that a more restrictive combination of conditions of release was needed reasonably to assure the

safety of the community. ECF No. 57 at 1. The firearms restriction as a condition of the Kastner’s

pretrial release remains part of the least restrictive combination of conditions that will “reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(c)(1)(B).

       The position of the D.C. Pretrial Services officer who is supervising Kastner has not

changed. The Court previously heard testimony from that officer in opposition to the Defendant’s

request to modify the conditions of his pretrial release to remove the firearms restriction. ECF No.

35 at 2-3, see also ECF No. 57 at 8-9. Judge Moss previously credited the views of the D.C. Pretrial



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Services officer, who “remains concerned that permitting Defendant to keep firearms at his

residence poses an unreasonable risk to the officers who may need to conduct a home visit.” ECF

No. 35 at 2-3. Kastner does not address the views (or safety) of Pretrial Services officers at all in

the most recent motion.

       Kastner has not presented any arguments with respect to his conduct on January 6 that

Judge Moss did not already consider and reject. Although the defendant is charged with non-

violent misdemeanors, Judge Moss noted that the defendant was “among the first people to breach

the U.S. Capitol” and “remained unlawfully in the Capitol building while rioters screamed and

pushed against law enforcement.” ECF No. 35 at 3. Based on the Kastner’s own admissions during

a pretrial hearing, the government now understands that he traveled from Ohio to the D.C. area

with firearms. ECF 57 at 2. Based on the Defendant’s internet search history in the days preceding

January 6, Judge Moss previously expressed concern about the defendant’s “hope[] to bring a

weapon equipped with a large capacity magazine to a rally-turned riot.” ECF No. 35 at 3-4. Kastner

may disagree with Judge Moss’s characterizations of the above-described conduct on and around

January 6, but the defendant has not disputed any of the facts set forth in prior orders.

       In a prior motion to remove the firearms restriction, as further detailed above, the

Defendant already recognized that his Second Amendment rights are “subject to reasonable

restrictions” while on pretrial release. See ECF 20 at 4-5. Judge Moss has twice concluded that

these restrictions are reasonable. As explained further below, neither Bruen nor Quiroz have called

into question Kastner’s prior concession that reasonable restrictions on firearm rights are

permissible.

       There has not been a change of law regarding the constitutionality of the firearms

restriction as a condition of pretrial release. Kastner notes that in Quiroz, the District Court for



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Western District of Texas recently held that 18 U.S.C. § 922(n), a statute that criminalizes the

receipt of a firearm by a person under indictment, is unconstitutional. See 2022 WL 4352482 at

*13. While the Defendant argues at length in his motion that § 922(n) is unconstitutional and that

“the Government [] must show that § 922(n) is consistent with the historical understanding of the

Second Amendment,” Kastner is not charged with a violation of 18 U.S.C. § 922(n). ECF No. 88

at 4. Kastner is charged with violations of 18 U.S.C. §§ 1752(a)(1) and (2), and 40 U.S.C. §§

5104(e)(2)(D) and (G). The Defendant requests that this Court remove “all conditions of his pre-

trial release which limit or interfere with his 2nd Amendment right to keep and bear arms or with

the 2nd Amendment rights of his wife, family and household” based on the holding in Quiroz.

However, the court in Quiroz specifically declined to comment on the constitutionality of the

restricting a defendant’s right to possess firearms as a condition of pretrial release. See 2022 WL

4352482 at *11. The government contends that the Defendant’s reliance on Quiroz is unfounded

and does not meet the “intervening change in law” standard of review for a motion to reconsider.

       While Quiroz relies on Bruen to reach its conclusion, Bruen did not work a change in law

with respect to conditions of pretrial release. Bruen set forth the appropriate framework for

evaluating laws that burden the rights of law-abiding, responsible individuals. It did not purport to

upset a long line of authority upholding liberty restrictions on those charged with crimes. In his

reliance on Quiroz, Kastner has not informed the Court of any intervening change in law regarding

the conditions of pretrial release or presented any new evidence that would justify the Court

revisiting this issue. Rather, the defendant is using the motion as “an opportunity to reargue facts

and theories upon which a court has already ruled.” 729 F. Supp. 2d at 14.




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        B.      A temporary firearms restriction is proper and justified

                i. Certain rights must give way to reasonable restrictions on pretrial release

                     to protect others’ safety, lessen risk of flight, and ensure compliance with

                     release conditions

        While the Court need not decide the constitutional issue that Kastner raises, the temporary

firearm restriction passes constitutional muster as it is consistent with the Nation’s historical

tradition of gun regulation and imposing reasonable conditions of release on defendants facing

criminal charges.4

        There is no absolute to right to pretrial release and no absolute right for a defendant to

possess a firearm while on pretrial release. E.g., United States v. Portes, 786 F.3d 758, 766 (7th

Cir. 1985); United States v. Snead, No. 12-132M, 2014 WL 4473773, at *8 (D.R.I. Feb. 4, 2014).

Logically, if the government has the power to detain a defendant pending trial and deny him his

liberty and freedom of movement, and to deny him the right to possess a firearm altogether, the

government must also have the lesser power to release him subject to appropriate conditions, such

as a firearm restriction.

        The Supreme Court upheld the constitutionality of the provisions of the 1984 Bail Reform

Act allowing pretrial detention based on potential dangerousness. United States v. Salerno, 481

U.S. 739 (1987). Federal courts have also upheld the pretrial firearm restriction in



4
  Attached as Exhibit A is the “Response of the United States to Appellant’s Memorandum,” U.S.
v. Fencl, 22-50316, ECF No. 16 (9th Cir. Jan. 13, 2023). In Fencl, the Ninth Circuit is considered
the question: “Does the pre-trial release condition barring gun possession when that is the least
restrictive way to ensure community safety violate the Second Amendment facially or as applied
to Fencl?” The Ninth Circuit affirmed the district court’s denial of the defendant’s motion to
modify the conditions of release and indicated that an opinion explaining that disposition will
follow. Fencl, No. 22-50316, ECF No. 24 (Jan. 26, 2023). To avoid unnecessary exposition,
government adopts and incorporates by reference the arguments regarding the constitutionality of
firearms restrictions as a condition of pretrial release made in Exhibit A.
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§ 3142(c)(1)(B)(viii) as constitutional. Snead, 2014 WL 4473773, at *8; United States v.

Campbell, 309 F. Supp. 3d 738, 750 (D.S.D. 2018), aff’d No. 18-1578, 2018 WL 11392845 (8th

Cir. May 4, 2018). In fact, “the imposition of a pretrial restriction on the possession of firearms

has been found to be critical ‘in most cases’ because it safeguards the Pretrial Services officers

who visit the home in the course of supervision.” Snead, 2014 WL 4473773, at *8 (citing United

States v. Smedley, 611 F.Supp.2d 971, 974 (E.D.Mo.2009)), see also ECF No. 35 and 42 (Judge

Moss explaining in the instant matter why a temporary firearms restriction is necessary for the

protection of Pretrial Services officers assigned to Kastner). Federal courts have found that the

“prohibition from possession of firearms is not an unreasonable restriction on liberty and serves

the interest in assuring the defendant’s presence for trial.” E.g., Campbell, 309 F. Supp. 3d at 750.

In sum, the Supreme Court has “repeatedly held that the Government's regulatory interest in

community safety can, in appropriate circumstances, outweigh an individual’s liberty interest.”

Salerno, 481 U.S.at 748.

               ii. Kastner’s Bruen challenge lacks merit

       Kastner incorrectly contends that the firearm-prohibition conditions of his pretrial release

“are unconstitutional on their face” after Bruen. ECF No. 88 at 7. His claim fails. To prevail on a

facial challenge to a statute, “the challenger must establish that no set of circumstances exist under

which the [statute] would be valid.” Salerno, 481 U.S. at 745. A facial challenge carries a “heavy

burden”, and it is “the most difficult challenge to mount successfully.” Id. The standard condition

is a discretionary and temporary condition. A court may impose it after an individualized

assessment of the defendant’s circumstances and determination that it is needed to reasonably

assure the defendant’s appearance as required and the safety of any other person and the

community. 18 U.S.C. § 3142(c)(B)(viii) (the court may impose the condition). The condition is



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discretionary, and it no longer applies if charges are dismissed or a defendant is found not guilty,

and the Court can modify it as needed.

       Moreover, in Bruen, the U.S. Supreme Court repeatedly confirmed that the Second

Amendment presumptively guarantees the right of “ordinary, law-abiding,” “responsible” citizens

to keep and carry firearms. Bruen, 142 S. Ct. at 2134; see also District of Columbia v. Heller, 554

U.S. 570, 635 (2008). Simply put, Kastner falls outside the Second Amendment’s protection

because he isn’t an “ordinary, law-abiding” citizen. Second Amendment rights are not unlimited.

See Heller, 554 U.S. at 592; see also Bruen, 142 S. Ct. at 2128 (“From Blackstone through 19th-

century cases, commentators and courts routinely explained that the [Second Amendment] right

was not a right to keep and carry any weapon whatsoever in any manner whatsoever and for

whatever purpose.”), see also Fecl brief, Exhibit A at 21-22 (“The Second Amendment applies to

law abiding citizens”). Kastner has been charged with four misdemeanor offenses arising out of

the January 6 attack on the U.S. Capitol. In lieu of detention pending trial, he has been released

subject to conditions that place reasonable limitations on his liberty to ensure his appearance as

required and the safety of any other person and the community.

       Under § 3142, a federal court can order a defendant detained pending trial, Salerno, 481

U.S. at 741, where he would necessarily be precluded from possessing any type of firearm while

in custody. This is consistent with our Nation’s historical tradition of firearms regulation, as there

is no constitutional right to bail. See Slye, 2022 WL 9728732, at *3. And based on historical

tradition, if the government has the greater power to put a defendant in custody pending trial and

deny him the right to possess a firearm altogether, it must also have the lesser power to release

him subject to reasonable conditions. See United States v. Slye, No. 1:22-MJ-144, 2022 WL




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9728732, at *2 (W.D. Pa. Oct. 6, 2022). Imposing a standard condition restricting firearms

possession does not offend Kastner’s constitutional rights under the Second Amendment.

       If an indictment for a crime and the interests in community safety can justify restrictions

on Fourth, Fifth, and Sixth Amendment rights and even outright detention pending trial, then they

can also justify the restriction of a defendant’s Second Amendment rights as a temporary and

judicially authorized condition of pretrial release. See Bruen, 142 S. Ct. at 2130 (“Th[e] Second

Amendment standard accords with how we protect other constitutional rights”); id. at 2156 (the

Second Amendment is subject to the same “body of rules” as “other Bill of Rights guarantees”).

Restrictions on a defendant’s liberty while charges are pending, even those as significant as

detention, are necessary regulatory measures that do not violate the Constitution or the

presumption of innocence. Salerno, 481 U.S. at 748; Thomas, 540 F. Supp. 3d at 371 (explaining

that 18 U.S.C. § 3142(c)(1)(B) expressly provides that a pretrial release condition may require a

person to refrain from possessing a gun notwithstanding the person’s Second Amendment rights).

Because the Second Amendment’s protections are limited to “law-abiding, responsible citizens”

and Kastner has not affirmatively demonstrated that he falls within that group of people, he is not

entitled to Second Amendment protection here.

       Even if Kastner were treated as a law-abiding citizen, the restriction temporarily barring

gun possession as a condition of pretrial release when that is the least restrictive way to protect the

community is consistent with historical tradition. As explained more fully in Exhibit A, that

tradition includes: (1) historical restrictions on indicted defendants, including pretrial detention;

(2) historical laws restricting the gun rights of groups deemed dangerous or untrustworthy; and

(3) historical surety laws restricting the gun rights of people accused of posing a threat. See

Exhibit A at 12-21 (“Historical analogues show that the pretrial-release gun condition is valid”).



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                                            Conclusion

       For these reasons, the government respectfully requests that the Court deny the Defendant’s

motion to remove the firearms restriction as a condition of his pretrial release.



                                              Respectfully submitted,

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                            No. 22-50316

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                      FOR THE NINTH CIRCUIT


                   UNITED STATES OF AMERICA,
                          PLAINTIFF-APPELLEE

                                v.
                            JOHN FENCL,
                         DEFENDANT-APPELLANT



        On Appeal from the United States District Court
            for the Southern District of California
                       21CR3101-JLS


               RESPONSE OF THE UNITED STATES TO
             APPELLANT’S MEMORANDUM IN SUPPORT
                      OF HIS FRAP 9(A) APPEAL



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                              No. 22-50316

               United States Court of Appeals
                        FOR THE NINTH CIRCUIT


                     UNITED STATES OF AMERICA,
                            PLAINTIFF-APPELLEE

                                  v.
                              JOHN FENCL,
                           DEFENDANT-APPELLANT



          On Appeal from the United States District Court
              for the Southern District of California
                         21CR3101-JLS


                  JURISDICTION AND BAIL STATUS

  The district court has jurisdiction in John Fencl’s case under 18

U.S.C. § 3231 since he is charged with offenses against the United

States. Appellant’s Exhibit (Ex.) G. On December 7, 2022, the court

denied Fencl’s appeal from the magistrate judge and affirmed his

pretrial-release conditions. Ex.A. That decision was immediately

appealable as a final order. See Fed. R. App. P. 9(a); Stack v. Boyle,

342 U.S. 1, 4 (1951). Fencl timely appealed on December 21, 2022.

Ex.I; Fed. R. App. P. 4(b)(1)(A)(i). This Court has jurisdiction under

28 U.S.C. § 1291. Fencl is in not custody and is set for a status hear-

ing on January 20, 2023. Clerk’s Record (R) 76.




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                        QUESTION PRESENTED

  Does the pretrial-release condition barring gun possession when

that is the least restrictive way to ensure community safety violate

the Second Amendment facially or as applied to Fencl?
                               STATEMENT

  This case arose out of Fencl’s third gun-related arrest. Ex.A-6. In

September 2019, officers arrested Fencl for illegally possessing a

concealed gun without a license. Ex.A-1. He pled guilty to a misde-

meanor. Id. In April 2021, officers arrested Fencl for carrying a pri-

vately made “ghost gun,” but no charges resulted. R 1 at 3. During
the arrest, Fencl said he would be armed every time officers con-

tacted him. Id. Finally, in June 2021, officers arrested Fencl after

finding more than 110 guns at his house, including 10 “ghost guns,”
four silencers, three short-barreled rifles, and 21 other guns that

are illegal under state law. Ex.A-1−2. Officers also found thousands

of rounds of ammunition, including armor-piercing and incendiary

rounds, and a gas grenade. R 57-4, 57-6. Post-Miranda, Fencl said

he manufactured several of the guns, including a short-barreled ri-

fle, and indicated that he knew he was not supposed to possess

short-barreled rifles. R 1 at 3-4.




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    The government ultimately charged Fencl with illegally pos-

sessing three unlicensed short-barreled rifles and four unlicensed

silencers 26 U.S.C. § 5861(d). Ex.G. After a hearing, the magistrate

judge set bond subject to various conditions. Ex.H. One was a stat-

utory condition barring gun possession, which the magistrate judge

modified to also bar gun-part possession. Ex.H at 1; see 18 U.S.C.

§ 3142(c)(1)(B)(viii).

    In July 2022, Fencl—who still does not have a California gun

license, see Ex.B-9 (noting that he “wish[es]” to get one)—moved to

strike the gun condition so he could carry guns in public,1 citing the
Second Amendment and the Supreme Court’s recent decision in

New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct.

2111 (2022). Ex.E; Ex.F. The government opposed. R 69. After hear-
ing argument, the magistrate judge denied the motion in a written

order. Ex.D. The judge concluded that the Second Amendment ap-

plies to “law-abiding citizens.” Ex.D at 4 (quoting Bruen, 142 S. Ct.


1Fencl’s brief in this Court concedes explicitly for the first time that
he is barred from carrying guns in public by state laws that are not
at issue here. Appellant’s FRAP 9(a) Memorandum (Mem.) 11 &
n.1. Despite this independent restriction, he argued in the district
court that he wanted the gun condition of his release stricken so he
can carry guns “for his work travels,” which occur “at all times of
the day and night, with great frequency.” Ex.B-9; Ex.C-2; Ex.F-2 see
also Ex.D-1; Ex.F-2.


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at 2156). And since Fencl was “charged with a crime based on a

finding of probable cause,” he did not qualify. Id. Yet even if he did,

found the judge, historical analogues to the gun condition showed

that it was not an unconstitutional infringement on his right to bear

arms. Ex.E-5−6. The magistrate judge also cited United States v.

Salerno, 481 U.S. 739 (1987), which upheld pretrial detention based

on danger to the community—a greater restriction than release

with a gun condition—as support for the conclusion that the gun

condition was constitutional. Ex.E-4−5.

  Fencl appealed that order to the district court, and the govern-
ment responded. Ex.B; Ex.C; R 79. The court denied the motion in

a written order. Ex.A. Like the magistrate judge, the court found

that Fencl was not a law-abiding citizen covered by the Second
Amendment. Ex.A-3−4. It also found that historical analogues sup-

ported the law. Ex.A-4−6. As comparators, it cited surety laws re-

quiring those reasonably likely to breach the peace to post surety

bonds before carrying guns in public, legislatures’ historically broad

powers over bail and detention, and Salerno’s discussion of deten-

tion powers. Ex.A-3−6. The district court also confirmed that the
condition was properly imposed on Fencl based on his individual

circumstances. Ex.A-6.




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  This appeal follows. Ex.I.
                       SUMMARY OF ARGUMENT

  The district court did not violate the Constitution by imposing a

condition barring Fencl from possessing guns while on bond to en-

sure community safety. For one, precedent confirms that those un-

der indictment may be subjected to many liberty restrictions that

would otherwise be unconstitutional, including detention and vari-
ous pretrial-release conditions in appropriate circumstances. The

gun condition here falls well within those permissible restrictions.

Bruen did not upset that precedent or address rights that are nec-
essarily restricted during pretrial release or detention, so it does

not require a different conclusion.

  Historical tradition also supports that conclusion. Legislatures
have long possessed broad powers over bail and detention and have

long exercised those powers to detain people charged with serious

crimes. That history supports the lesser power of ordering release

with a gun condition to protect the community. And founding-era

laws barring gun possession by those deemed dangerous or untrust-

worthy likewise show that the condition here, which is tethered to

community safety, is constitutional. That and other history all sup-

port upholding the law here.




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     Striking down the gun condition would also have the perverse

effect of causing courts to deny bail when a gun condition might

have sufficed to safeguard the community, thus leaving more people

in prison while they await trial. For the reasons discussed, this

Court should uphold the condition and affirm.

                                ARGUMENT

A.     This Court reviews the constitutionality of the condition de
       novo and the district court’s factual findings for clear error.
     This Court reviews the constitutionality of pretrial-release con-

ditions de novo and the district court’s factual findings under the
“deferential, clearly erroneous standard.” United States v. Hir, 517

F.3d 1081, 1086 (9th Cir. 2008) (citation omitted). The Court may

affirm the district court’s decision on any ground supported by the
record. See Ctr. for Biological Diversity v. U.S. Fish & Wildlife

Serv., 450 F.3d 930, 941 (9th Cir. 2006); Newbery Corp. v. Fireman’s

Fund Ins. Co., 95 F.3d 1392, 1398 (9th Cir. 1996).

B.     This district court properly found that the pretrial-release
       condition is constitutional.
     The district court’s decision upholding the pretrial-release con-

dition is correct in light of Supreme Court precedent, the history of

bail and detention, and the history of laws denying guns to those

deemed dangerous or disruptive. This Court should affirm.




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      1.    Indictment can entail many restrictions, including a ban
            on gun possession in appropriate circumstances, that
            would otherwise violate constitutional rights.
   The district court correctly held that the law allowing a court to
order that the defendant “refrain from possessing a firearm” while

on pretrial release when that is the least restrictive way to ensure

community safety comports with the Second Amendment. 18 U.S.C.
§ 3142(c)(1)(B)(viii).

   A grand jury’s indictment charging a person with a crime has

important legal consequences. See Kaley v. United States, 571 U.S.
320, 328-29 (2014). While a defendant is presumed innocent until

proven guilty, see Bell v. Wolfish, 441 U.S. 520, 533 (1979), he may

still be arrested, see United States v. Watson, 423 U.S. 411, 417
(1976); searched incident to arrest, see United States v. Robinson,

414 U.S. 218, 236 (1973); strip-searched in jail, see Florence v. Bd.

of Chosen Freeholders, 566 U.S. 318, 322-23 (2012); and jailed pend-
ing arraignment, see Cnty. of Riverside v. McLaughlin, 500 U.S. 44,

52, 58 (1991). And the government can, in some instances, freeze a

defendant’s assets—even those needed to pay a lawyer. See Kaley,

571 U.S. at 326-27.

   Even after arraignment, a defendant may be denied bail pending

trial. The Bail Reform Act allows a court to detain a defendant if it

finds that no release conditions will reasonably assure community



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safety. See 18 U.S.C. § 3142(e)-(f). The Supreme Court has held that

this part of the Act “fully comports with constitutional require-

ments.” Salerno, 481 U.S. at 741. In reaching that conclusion, the

Court noted that it had “repeatedly held that the Government’s reg-

ulatory interest in community safety can, in appropriate circum-

stances, outweigh an individual’s liberty interest.” Salerno, 481

U.S. at 748-49. The Court noted the Act’s “extensive safeguards”

and “procedural protections” in concluding that the Act complies

with the Due Process and Excessive Bail Clauses. Id. at 752, 755.

  The same reasons that support the Bail Reform Act’s pretrial-
detention provision also support the imposition of judicially admin-

istered release conditions under the Act. See, e.g., United States v.

Scott, 450 F.3d 863, 874 (9th Cir. 2006) (reading Salerno as
“uph[olding] the constitutionality of [the] bail system” in the Bail

Reform Act and applying same framework to analysis of bail-condi-

tion validity). That makes sense. The greater power to take away

the “fundamental” and “strong interest in liberty” altogether pend-

ing trial based on danger to the community, Salerno, 481 U.S. at

750, necessarily implies the lesser power of granting release with
conditions reasonably necessary to prevent danger to the commu-

nity. Cf. Kaley, 571 U.S. at 330 (“‘[I]t would be odd to conclude that




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the Government may not restraint property’ on the showing often

sufficient to ‘restrain persons.” (citation omitted)).

   There is no reason to apply a different rule to a pretrial-release

gun condition. If an indictment for a crime and the interests in com-

munity safety can justify restrictions on Fourth, Fifth, and Sixth

Amendment rights and even outright detention pending trial, then

they can also justify the restriction of a defendant’s Second Amend-

ment rights as a temporary and judicially authorized condition of

pretrial release. See Bruen, 142 S. Ct. at 2130 (“Th[e] Second

Amendment standard accords with how we protect other constitu-
tional rights”); id. at 2156 (the Second Amendment is subject to the

same “body of rules” as “other Bill of Rights guarantees”).

   The statutory gun restriction is a carefully circumscribed re-
lease condition that complies with constitutional guarantees. The

condition may only be imposed if it is “the least restrictive” way to

“reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. §

3142(c)(1)(B). Thus, just as the “Government’s regulatory interest

in community safety can . . . outweigh an individual’s liberty inter-
est” and justify pretrial detention, that same interest can justify




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temporarily disarming an indicted person whose release is other-

wise appropriate. Salerno, 481 U.S. at 748.

      2.    Bruen does not cast doubt on the constitutionality of pre-
            trial-release conditions under the Bail Reform Act.
  The Second Amendment reads: “A well-regulated Militia, being

necessary to the security of a free State, the right of the people to
keep and bear Arms, shall not be infringed.” U.S. Const., amend. II.

In District of Columbia v. Heller, the Supreme Court held “that the

Second Amendment conferred an individual right to keep and bear
arms” and that the District of Columbia’s “ban on handgun posses-

sion in the home” violated that right. 554 U.S. 570, 625, 635 (2008).

  In Bruen, the Court made Heller “more explicit.” 142 S. Ct. at
2131, 2134. It clarified “that when the Second Amendment’s plain

text covers an individual’s conduct, the Constitution presumptively

protects that conduct.” Id. at 2126. In that case, a regulation is valid

if the government shows “that the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” Id. The Court

noted that circuit courts, while applying a similar test as a “first
step,” had also applied a “means-end scrutiny” “second step.” Id. at

2125-27. The Court deemed the second step “one step too many” and

rejected it. Id. at 2127. Applying the clarified test, the Court held
that the Second Amendment protects the “right to carry a handgun



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for self-defense outside the home” and that a law “condition[ing] is-

suance of a license to carry on a citizen’s showing of some additional

special need” violated that right. Id. at 2122.

  In reaching those conclusions, the Court “decide[d] nothing

about who may lawfully possess a firearm.” Id. at 2157 (Alito, J.,

concurring). Nor did it address the extent to which constitutional

rights may be restricted because of pretrial detention or as a condi-

tion of bail. See Ex.C-4 (Fencl agreeing that “Bruen did not address

this issue.”). Indeed, Bruen reaffirmed Heller’s observation that,

[l]ike most rights, the right secured by the Second Amendment is
not unlimited” and is “not a right to keep and carry any weapon

whatsoever in any manner whatsoever and for whatever purpose.”

Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 626). And it
clarified that the Second Amendment is equal to other rights, but

never suggested that it received extra protections. See Bruen, 142

S. Ct. at 2130 (“Th[e] Second Amendment standard accords with

how we protect other constitutional rights.”).

  In sum, Bruen does not call into question Salerno’s conclusion

that the Bail Reform Act’s pretrial detention provision is constitu-
tional, which by close analogy confirms the validity of the Act’s pre-

trial-release conditions. See Scott, 450 F.3d at 874. This Court must




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follow “on point” Supreme Court decisions even if “subsequent de-

cisions cast strong doubt on” them. Musladin v. Lamarque, 555 F.3d

830, 837 (9th Cir. 2009); see Agostini v. Felton, 521 U.S. 203, 237

(1997). Here, Bruen casts no doubt on Salerno or other decisions

upholding significant restrictions on the liberty interests of those

charged with crimes. This Court can thus uphold the challenged

condition without proceeding further. Still, as explained below, the

historical analysis confirms the condition’s validity.

      3.    Historical analogues show that the pretrial-release gun
            condition is valid.
  Temporarily barring gun possession as a condition of pretrial re-

lease when that is the least restrictive way to protect the commu-
nity is consistent with historical tradition. That tradition includes:

(1) historical restrictions on indicted defendants, including pretrial

detention; (2) historical laws restricting the gun rights of groups

deemed dangerous or untrustworthy; and (3) historical surety laws

restricting the gun rights of people accused of posing a threat.

            a.     Pretrial Detention
  The historical record confirms that there was no “fundamental

right to bail” at the time of the founding and that legislatures pos-
sessed broad powers over bail and detention. United States v. Ed-

wards, 430 A.2d 1321, 1329 (D.C. 1981) (en banc); see also United



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States v. Stephens, 594 F.3d 1033, 1039 (8th Cir. 2010) (“Congress

may ban bail in entire classes of cases.”); United States v. Perry, 788

F.2d 100, 111 (3d Cir. 1986) (most “federal courts that have ad-

dressed the issue have held that there is no absolute right to bail”).

  In exercising their broad powers, legislatures have historically

made some offenses nonbailable or presumptively nonbailable. For

example, “[c]apital defendants have been excluded from bail since

colonial days, and there is some evidence that this exclusion was a

public-safety measure.” Sandra G. Mayson, Dangerous Defendants,

127 Yale L.J. 490, 502 (2018). The Judiciary Act of 1789—passed
two years before the Second Amendment’s ratification—was gener-

ally consistent with that practice. It provided that a defendant ac-

cused of a federal crime could “be arrested, and imprisoned or
bailed, as the case may be, for trial.” Act of Sept. 24, 1789, ch. XX,

1 Stat. 73, § 33 (1789). Bail was allowed “except where the punish-

ment may be death, in which cases it shall not be admitted but by

[a court or judge], who shall exercise their discretion therein, re-

garding the nature and circumstances of the offence, and of the ev-

idence, and the usages of law.” Id.
  At the founding, detention swept broadly because many crimes

were punishable by death. Capital punishment for felonies was




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“ubiquit[ous]” in the late eighteenth century and was “the standard

penalty for all serious crimes.” See Baze v. Rees, 553 U.S. 35, 94

(2008) (Thomas, J., concurring in the judgment) (citing Stuart Ban-

ner, The Death Penalty: An American History 23 (2002)). Capital

crimes “included nonviolent offenses that we would recognize as fel-

onies today, such as counterfeiting currency, embezzlement, and

desertion from the army.” Medina v. Whitaker, 913 F.3d 152, 158

(D.C. Cir. 2019).

   As one court summarized, “history recognized detention as a re-

striction that could be imposed upon a person who was accused, but
not convicted[,] of a crime. Inherent in this severe restriction of lib-

erty is the temporary abridgement of numerous core constitutional

rights[,] including . . . the right to bear arms.” United States v. Slye,
No. 22MJ144, 2022 WL 9728732, at *2 (W.D. Pa. Oct. 6, 2022) (un-

published). It would thus “be illogical to conclude that the Court has

the authority to set conditions temporarily depriving an accused of

all of [those] constitutional protections by ordering his detention

but lacks the authority to impose far less severe restrictions, such

as ordering his release on bond with a firearms restriction.” Id.
Stated differently, it is difficult to conclude that the public, in 1791,

would have understood someone facing outright pretrial detention




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to be within the scope of those entitled to possess arms. Cf. Folajtar

v. Att’y Gen., 980 F.3d 897, 905 (3d Cir. 2020) (“it is difficult to con-

clude that the public, in 1791, would have understood someone fac-

ing death and estate forfeiture” (i.e., a felon) “to be within the scope

of those entitled to possess arms” (quoting Medina, 913 F.3d at 158).

   In sum, § 3142(c)(1)(B)(viii)’s gun-restriction condition imposes

a far lesser burden on an indicted defendant than does pretrial de-

tention. Pretrial detention strips a defendant of all Second Amend-

ment rights and severely restricts many other “core constitutional

rights,” like freedom of speech, freedom of association, and reason-
able privacy expectations. See Slye, 2022 WL 9728732, at *2 & n.4.

In contrast, § 3142(c)(1)(B)(viii) imposes a narrower prohibition—

temporarily disarming a person subject to release—that squares
with the historical tradition of affording legislatures broad powers

of bail and detention and of detaining defendants charged with se-

rious crimes. The power to detain necessarily encompasses the

power to impose that lesser liberty restriction. Cf. Kaley, 571 U.S.

at 330 (“it would be odd to conclude” that the government cannot

seize forfeitable assets on a grand jury’s probable-cause finding
when that showing is often sufficient to “restrain persons” (citation

omitted)); Stephens, 594 F.3d at 1039 (Congress’s power to ban bail




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in some cases implies the power to impose “the Adam Walsh Act’s

much less restrictive mandatory release conditions” requiring a

curfew and electronic monitoring).

            b.     Laws Disarming the Dangerous or Untrustworthy
  Historical laws barring guns to people or groups deemed danger-

ous or untrustworthy, as well as laws making it an offense to mis-

use guns, support the constitutionality of the bail condition.

  In England, officers of the Crown could “seize all arms in the

custody or possession of any person” whom they “judge[d] danger-
ous to the Peace of the Kingdom.” Militia Act of 1662, 13 & 14 Car.

2, c.3, § 13 (1662). England also disarmed “entire group[s]” for “their

perceived disrespect for and disobedience to the Crown and English
law.” Range v. Att’y Gen., 53 F.4th 262, 275 (3d Cir. 2022), vacated

upon grant of rehearing en banc, 2023 WL 118469 (Jan. 6, 2023).

Thus, “by the time of American independence, England had estab-
lished a well-practiced tradition of disarming dangerous persons—

violent persons and disaffected persons perceived as threatening to

the crown.” Joseph G.S. Greenlee, The Historical Justification for
Prohibiting Dangerous Persons from Possessing Firearms, 20 Wyo.

L. Rev. 249, 261 (2020); see id. at 259-61 (detailing history).




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  States in the period around the American Revolution took simi-

lar measures. Some states barred guns for those “[r]efusing to

swear an oath, defaming acts of Congress, or failing to defend the

colonies.” Folajtar, 980 F.3d at 908 & n.11; see also Medina, 913

F.3d at 159 (discussing similar laws); Kanter v. Barr, 919 F.3d 437,

454-58 (7th Cir. 2019) (Barrett, J., dissenting) (same). In fact, at

least six states disarmed the “disaffected” who refused to take an

oath of allegiance to those states. See 5 The Acts and Resolves, Pub-

lic and Private, of the Province of the Massachusetts Bay 479-84

(1886) (1776 law); 7 Records of the Colony of Rhode Island and Prov-
idence Plantations, in New England 567 (1776 law); 1 The Public

Acts of the General Assembly of North Carolina 231 (1804) (1777

law); 9 Statutes at Large, Being A Collection of All the Laws of Vir-
ginia 281-82 (1821) (1777 law); Rutgers, New Jersey Session Laws

Online, Acts of the General Assembly of the State of New-Jersey 90

(1777 law); 9 Statutes at Large of Pennsylvania 348 (1779 law).

  Aside from laws disarming groups, laws also made it an offense

to use guns to terrify the public. In England, “the act of ‘go[ing]

armed to terrify the King’s subjects’ was ‘a great offence at the com-
mon law,’” so long as it was committed with “evil intent or malice.”

Bruen, 142 S. Ct. at 2141 (quoting Sir John Knight’s Case, 87 Eng.




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Rep. 75, 76 (K.B. 1686)). Similarly, in America, the colonies (and

later the states) enacted laws that “prohibit[ed] bearing arms in a

way that spreads ‘fear’ or ‘terror’ among the people.” Bruen, 142 S.

Ct. at 2145. As Bruen observed, such statutes “all but codified the

existing common law in this regard.” Id. at 2144 n.14 (citing George

Webb, The Office and Authority of a Justice of Peace 92 (1736)).

  Those provisions show that legislatures had the authority to re-

strict gun possession by individuals or groups deemed to “act coun-

ter to society’s welfare,” Folajtar, 980 F.3d at 909, or who fail to

comply with “legal norms,” Range, 53 F.4th at 278. The law here is
falls well within that historical tradition because a person may be

subjected to the pretrial-release gun condition only after a court

finds: (1) probable cause to believe that the defendant committed a
crime and (2) that the condition is “the least restrictive” way to as-

sure his appearance and “the safety of any other person or the com-

munity,” 18 U.S.C. § 3142(c)(1)(B).

                   c.    Surety Laws
  Colonial surety laws also support the gun condition. At common
law, the surety system allowed any person with “just cause to fear”

another person to “demand surety of the peace.” 4 William Black-

stone, Commentaries on the Laws of England 252 (1769).




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  In America, two colonies required those who went “armed offen-

sively” to obtain sureties and required the offending party to forfeit

his weapons. 1 Acts and Resolves, Public and Private, of the Prov-

ince of the Massachusetts Bay, 52-53 (1869) (1692 statute); Acts

and Laws of His Majesty’s Province of New-Hampshire: In New-

England; with Sundry Acts of Parliament 17 (1771) (1701 statute).

Four other colonies or states also codified the common-law surety

system before 1791. See 2 Statutes at Large of Pennsylvania from

1682 to 1801, pg. 23 (1896) (1700 statute); 1 Laws of the State of

Delaware from the Fourteenth Day of October, One Thousand
Seven Hundred, to the Eighteenth Day of August, One Thousand

Seven Hundred and Ninety-Seven 52 (1797) (1700 statute); Acts

and Laws of His Majesties Colony of Connecticut in New-England
91 (1901) (1702 statute); 13 Statutes at Large, Being a Collection of

All the Laws of Virginia, from the first Session of the Legislature,

in the Year 1619, pg. 41 (1823) (1789 statute). And Maryland’s 1776

Declaration of Rights assumed the existence of the common-law

surety system in its section on oaths. 1 General Public Statutory

Law and Public Local Law of the State of Maryland, from the Year
1692 to 1839 Inclusive: With Annotations Thereto, and a Copious

Index, pg. xxx (1840).




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  Thus, in 1829, before the passage of the surety statutes discussed

in Bruen, see 142 S. Ct. at 2148, William Rawle explained that “even

the carrying of arms abroad by a single individual, attended with

circumstances giving just reason to fear that he purposes to make

an unlawful use of them, would be sufficient cause to require him

to give surety of the peace” and that “[i]f he refused he would be

liable to imprisonment.” William Rawle, A View of the Constitution

of the United States of America 126 (2d ed. 1829).

  In Bruen, the Court deemed later, 19th-century surety laws in-

sufficiently analogous to the New York law at issue because the
surety “laws were not bans on public carry, and they typically tar-

geted only those threatening to do harm.” 142 S. Ct. at 2148. The

law here bears more similarities to surety laws, as it allows for a
gun restriction only after (1) a grand jury finds probable cause that

a crime was committed and (2) a court determines that the condi-

tion is “the least restrictive” way to assure community safety, 18

U.S.C. § 3142(c)(1)(B). And like surety laws, the gun condition re-

stricts rights only temporarily. Courts have thus held that surety

laws are similar enough to support the bail condition’s constitution-
ality. See Ex.D-5−6; United States v. Perez-Garcia, --- F.Supp.3d ---

-, 2022 WL 4351967, at *1 (S.D. Cal. 2022), aff’d 2022 WL 17477918




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(S.D. Cal. Dec. 6, 2022) (unpublished); United States v. Kays, ---

F.Supp.3d ----, 2022 WL 3718519, *4-5 (W.D. Okla. 2022); but see

United States v. Stambaugh, No. 22CR218-PRW, 2022 WL

16936043, at *3-6 (W.D. Okla. Nov. 14, 2022) (unpublished) (finding

different law barring gun possession insufficiently similar to surety

laws since surety laws did not bar gun possession); United States v.

Quiroz, No. 22CR104-DC, 2022 WL 4352482, *7 (W.D. Tex. Sept.

19, 2022) (unpublished) (same).

      4.    The Second Amendment applies to law-abiding citizens.
  The court here also upheld the pretrial gun condition on the

grounds that those under felony indictment are not protected by the

Second Amendment. Heller indicated that the Second Amendment
protects “law-abiding citizens.” 554 U.S. at 625, 635; see also id. at

644 (Stevens, J., dissenting) (“the Court limits the protected class

to ‘law-abiding, responsible citizens’”). Bruen did the same. Indeed,

it used the term “law-abiding” 14 times. 142 S. Ct. at 2122, 2125,

2131, 2133-34, 2135 n.8, 2138 & n.9, 2150, 2156.

  And Bruen did not call into question the “shall-issue” licensing
regimes in 43 states, which impose “narrow, objective, and definite

standards” meant to ensure “that those bearing arms in the juris-

diction are, in fact, law-abiding, responsible citizens.” Id. at 2138




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n.9. Many of those states deny firearm-carry licenses to persons un-

der a felony indictment. See, e.g., Ariz. Rev. Stat. § 13-3112(E)(3);

Ky. Rev. Stat. § 237.110(4)(a); La. Stat. § 40:1379.3(C)(10); Tenn.

Code § 39-17-1351(c)(7). Yet under Fencl’s interpretation of Bruen,

those shall-issue licensing schemes that Bruen endorsed would be

unconstitutional. Bruen does not support that view.

      5.    Fencl offers no convincing reason to reverse.
  Fencl discusses the surety law and law-abiding-citizen ration-

ales at length. Mem. 12-18, 27-32. He addresses Salerno and the
history of bail and detention by arguing that barring guns during

detention is too dissimilar to a pretrial gun condition to support its

constitutionality. Mem. 18-25. He does not address laws barring
guns to those deemed dangerous or disruptive.

  Fencl’s arguments offer no reason not to apply Salerno here. Sa-

lerno affirmed the constitutionality of detention based on danger to

the community. See 481 U.S. at 741. As noted, this Court has ap-

plied Salerno to bail conditions without suggesting that a different

rule applies. See Scott, 450 F.3d at 874. And Bruen did not purport
to upset that system or even address bail and detention. See supra




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§ (A)(2). Thus, this Court should apply Salerno and leave to the Su-

preme Court the prerogative of limiting that precedent in the con-

text of guns if it deems doing so necessary.

  As for the history, Fencl appears not to contest that legislatures

have long possessed broad powers over bail and detention. He ar-

gues only that the powers they exercised are too dissimilar to the

law here. See Mem. 20. But to support a gun law, the government

must “identify a well-established and representative historical an-

alogue, not a historical twin.” Bruen, 142 S. Ct. at 2133. So even if

a modern-day regulation is not a dead ringer for historical precur-
sors, it still may be analogous enough to pass constitutional muster”

if it “impose[s] a comparable burden” that “is comparably justified.”

Id. That is, while “analogical reasoning under the Second Amend-
ment” is not “a regulatory blank check,” it is not “a regulatory

straightjacket” either. Id. Here, history showing that legislatures

have long possessed and exercised power that is not just compara-

ble to but far greater than the burden imposed by the bail law is

“analogous enough” to support its constitutionality. Id.

  Fencl and several amici also cite substantive-due-process cases
about the liberty interests of those awaiting trial. Mem. 22-25. But




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at best, those cases suggest a limitation on historical bail and de-

tention powers (or, implicitly, a narrower reading of that history)

by indicating that people awaiting trial possess a liberty interest

that cannot be restricted absent individualized (or in some circum-

stances legislative) findings relating to flight risk, danger to the

community, or another compelling government interest. See, e.g.,

Scott, 450 F.3d at 872 n.12 (noting that bail condition “may well be

justified based on a legislative finding . . . or an individualized find-

ing” relating to government interest); id. at 874 (discussing Salerno

and noting that conditions meeting requirements in Bail Reform
Act would be valid). But here, Fencl is attacking a law that does

require findings that justify restricting his liberty interests. So the

cases he cites do not advance his challenge here.
     In short, Fencl has not addressed the history of gun restrictions

on those deemed dangerous or disruptive, and his responses to Sa-

lerno and the history of bail and detention offer no convincing rea-

son to set aside that precedent or history. The Court should thus

affirm the gun condition based on that authority.

C.     The relevant factors support applying the gun condition here.
     Fencl argues that judges in the Southern District of California

presumptively apply the gun condition. Mem. 1, 18. But how judges




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apply the condition in other cases is not at issue. See Johns v. Cnty.

of San Diego, 114 F.3d 874, 876 (9th Cir. 1997) (“constitutional

claims are personal and cannot be asserted vicariously”). Here,

Fencl does not dispute that the district court found that the condi-

tion was proper based on his individual circumstances here. Ex.A-

6. To the extent he suggests that the court erred in concluding as

much because he would not be a danger to the community if allowed

to possess guns, that is an argument for striking the condition but

not for declaring it unconstitutional. Still, the district court did not

err based on the relevant factors. See 18 U.S.C. § 3142(g).
   First, the crime involves illegal possession of a gun, Ex.G, and

the evidence against Fencl is strong. Officers found the short-bar-

reled rifles and silencers in Fencl’s house alongside many other
guns, and Fencl said he manufactured a short-barreled rifle (and

other guns) and knew he wasn’t supposed to possess one.

   Second, Fencl’s history and characteristics, and other factors,

suggest a danger to the community. Notably, Fencl: (1) possessed

110 guns, including 10 ghost guns, four silencers, three short-bar-

reled rifles, and 21 other guns that were illegal under state law; (2)
possessed thousands of rounds of ammunition, including armor-

piercing rounds, incendiary rounds, and a gas grenade; (3) has three




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gun-related arrests, including the one in this case, and one convic-

tion for carrying a loaded gun in a public place; and (4) has said that

he builds guns and will always be armed. And perhaps most im-

portantly, Fencl says he wants to carry a gun since he “travel[s] into

less-populated areas, at all times of the day and night, with great

frequency.” Ex.C-2; see supra n.1. Yet California law would bar him

from carrying a gun on those trips absent a license. See Peruta v.

Cnty. of San Diego, 824 F.3d 919, 925 (9th Cir. 2016) (en banc) (dis-

cussing California law). And Fencl concedes that he does not have

a California license. Mem. 11 & n.1; Ex.B-9 (noting that he
“wish[es]” to get one). So, in essence, Fencl wants to break the law

by continuing to illegally carry guns.

  Those factors show a serious danger that Fencl will continue to
build and possess illegal guns, continue to illegally carry loaded

guns in public places, and otherwise continue to illegally use or pos-

sess guns. That is enough to show a danger to the community. See,

United States v. Provenzano, 605 F.2d 85, 95 (3d Cir. 1979) (“[A]

defendant’s propensity to commit crime generally, even if the re-

sulting harm would be not solely physical, may constitute a suffi-
cient risk of danger to come within the contemplation of [the Bail

Reform Act].”); cf. United States v. Harris, No. 16CR851-VSB, 2020




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WL 4699044, at *5 (S.D.N.Y. Aug. 12, 2020) (unpublished) (detain-

ing defendant based on gun possession at time of arrest); United

States v. Velez-Ramos, No. 18CR767-PAD, 2019 WL 1771614, at *4

(D.P.R. Apr. 22, 2019) (unpublished) (releasing defendant who pos-

sessed gun at time of arrest but imposing bail condition barring gun

possession). The court thus rightly imposed the condition here.

                              CONCLUSION

  The Court should affirm the district court’s decision upholding

Fencl’s pretrial-release conditions.
  Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

      1.   This response complies with the length limitation of
Ninth Circuit Rules 27-1(1)(d) and 32-3(2) because it contains 5,537
words, excluding the portions exempted by Federal Rule of Appel-
late Procedure 32(f).

      2.   This response complies with the typeface requirements
of Federal Rule of Appellate Procedure 32(a)(5) and the type style
requirements of Federal Rule of Appellate Procedure 32(a)(6) be-
cause it has been prepared in a proportionally spaced typeface, 14-
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                                             Assistant U.S. Attorney

                                             JANUARY 13, 2023.




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